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1                      UNITED STATES DISTRICT COURT
2                      FOR THE DISTRICT OF COLUMBIA
3
                                           )
4    UNITED STATES OF AMERICA,             )
                                           )
5    vs.                                   ) Criminal # 22-CR-00306 (JMC)
                                           )
6    WILLIAM KIT                           )
                                           )
7                       Defendant          )
                                           )
8                                          )
9

10

11                                       ORDER
12         This matter is before the Court on Defendant’s Motion for Leave to
13   Late-File and Defendant’s Memorandum in Aid of Sentencing. The Court
14   having considered the Motion, being fully advised, it is on this _____ day of
15   ________              2023 by the United States District Court for the
16   District of Columbia hereby
17         ORDERED that the Defendant’s Motion be GRANTED.
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20                                                           __________

21                                          United States District Judge

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